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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

FELICIANA G. REYES
7840 Woodman Avenue, Apt. 224
Panorama City, CA 91402

                  Plaintiff,

             v.                                No. 1:17-cv-2548

UNITED STATES DEPARTMENT
OF EDUCATION
400 Maryland Avenue, SW
Washington, DC 20202

                  Defendant.

                                   COMPLAINT

      1.     This is an action under the Freedom of Information Act (“FOIA”), 5 U.S.C.

§ 552, and the Administrative Procedure Act (“APA”), 5 U.S.C. §§ 701 et seq., seeking

the release of withheld records about the Filipino Veterans Equity Compensation Fund

(“FVECF”) Interagency Working Group (“IWG”) and that relate to the report U.S. ARMY

RECOGNITION PROGRAM OF PHILIPPINE GUERRILLAS (“Army Report”), dated circa 1949.

      2.     The White House Initiative on Asian Americans and Pacific Islanders

(“WHIAAPI”) was established with its funding and administrative support provided by

the United States Department of Education (“ED”). WHIAAPI, in collaboration with the

Office of Management and Budget, launched the FVECF IWG that made the

Army Report publicly available.

      3.     Feliciana G. Reyes (“Ms. Reyes”), ninety years old, served in a recognized

guerrilla force in the Philippines during World War II, i.e., one under a commander who

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was appointed, designated or recognized by General Douglas MacArthur, the

Commander-in-Chief of the Southwest Pacific Area (“CINCSWPA”). But the Army

Report reveals that all women—like Ms. Reyes—were denied recognition for their

guerrilla service except “nurses.”   Consequently, although Ms. Reyes was a “ward

attendant” in a medical corp, she has been denied the FVECF benefit because Army

refuses to certify her service.

       4.     The Army Report is a key piece of evidence relied upon by Ms. Reyes in

her pending appeal before the United States Court of Appeals for Veterans Claims

(“CAVC”) concerning denial of the FVECF benefit. The United States Department of

Veterans Affairs (“VA”) has moved to strike the Army Report from the appeal and

argued that it was “neither actually nor constructively before the [Board of Veterans’

Appeals] at the time of its decision” denying Ms. Reyes the FVECF benefit.

       5.     Ms. Reyes seek declaratory, injunctive, and other appropriate relief with

respect to ED’s unlawful withholdings of records requested under FOIA.

                             JURISDICTION AND VENUE

       6.     This court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1331 and 5 U.S.C. § 552(a)(4)(B). In addition, this Court has jurisdiction

pursuant to the APA, 5 U.S.C. §§ 701-706.         This Court has jurisdiction to grant

declaratory and further necessary or proper relief pursuant to 28 U.S.C. §§ 2201-2202

and Federal Rules of Civil Procedure 57 and 65.




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       7.     Venue lies in this district pursuant to 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C.

§ 1391(e) because the defendant is located in the District of Columbia and a substantial

part of the events or omissions giving rise to the claims occurred in this district.

                                      THE PARTIES

       8.     Plaintiff Feliciana G. Reyes is an individual residing at 7840 Woodman

Avenue, Apt. 224, Panorama City, CA 91402.

       9.     Defendant United States Department of Education is a federal agency

located at 400 Maryland Avenue, SW, Washington, DC 20202. ED has possession,

custody, and control over the records sought by plaintiff. ED is an agency within the

meaning of 5 U.S.C. § 552(f)(1).

                              NATURE OF THE ACTION

       10.    Just prior to the turn of the twentieth century, the United States acquired the

Philippines from Spain when the so-called Treaty of Paris was ratified to end the

Spanish-American War. See “Treaty of Peace between the United States of America and

the Kingdom of Spain,” in Foreign Treaties and International Agreements; Spain, 30 Stat.

1754 (Dec. 10, 1898).        The Commonwealth of the Philippines was subsequently

established in 1934 when Congress enacted the Philippine Independence Act, which in

part provided that until “final and complete withdrawal of the sovereignty of the United

States . . . [t]he Philippine Islands recognize[d] the right of the United States . . . to

maintain . . . armed forces in the Philippines, and, upon order of the President, to call into

the service of such armed forces all military forces organized by the Philippine

government.” 48 Stat. 456 (Mar. 24, 1934).


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       11.    During World War II, President Franklin D. Roosevelt “call[ed] and

order[ed] into the service of the armed forces of the United States for the period of the

existing emergency and place[d] under the command of a General Officer, United States

Army . . . all of the organized military [except naval] forces of the Government of the

Commonwealth of the Philippines.” Military Order of July 26, 1941, 6 Fed. Reg. 3825

(Aug. 1, 1941).

       12.    Pursuant to that Military Order, the U.S. Army Forces in the Far East

(“USAFFE”) was created on July 26, 1941 with Major General Douglas MacArthur in

command. Gen. MacArthur subsequently became CINCSWPA, a military command of

the Allied forces in a theatre that included the Philippines.

       13.    To oppose the Japanese invaders, Filipinos created a resistance movement

and became known as “guerrillas.” Their service was so critical to the Allied efforts—

especially during the reconquest of the Philippines from Japan—that their leaders

exercised authority under direct command of Gen. MacArthur.

       14.    On October 28, 1944, Philippine President Osmeña issued Executive Order

No. 21 designating “[a]ll persons . . . who are actively serving in recognized military

forces in the Philippines . . . to be on active service in the Philippine Army.” See

Executive Order No. 21 by the President of the Philippines (Oct. 28, 1944), available at

https://www.gov.ph/documents/20147/190423/Executive+Order+No.+21%2C+s.+1944/0

8f96938-5878-f9ee-f8a8-41e0ca566adf?version=1.1. A “recognized military force” was

defined as “a force under a commander who ha[d] been appointed, designated or




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recognized by [CINCSWPA].” Id. In other words, all guerrilla units recognized by

CINCSWPA were also incorporated into the Philippine Army.

         15.    During 1944-45, Ms. Reyes was a civilian guerrilla and served as a Ward

Attendant in the Medical Corp of the 75th Infantry Regiment, with operations in the 7th

Military District of the Philippines encompassing Negros Island, specifically in the

southeast part known as Negros Oriental.            This military force was specifically

“recognized” by Gen. MacArthur.         The 7th Military District—including its guerrilla

force—later was placed under the operational control of the Eighth Army.

         16.    As a Ward Attendant, Ms. Reyes assisted the Army doctors and nurses by

treating wounds and attending the sick soldiers. A person serving as a ward attendant had

a role that was distinct from, and subservient to, a nurse.

         17.    With WWII having come to a close and the United States imminently

relinquishing its sovereignty over the Philippines, President Harry S. Truman issued a

Military Order, effective June 30, 1946, in which he “release[d] from the service of the

armed forces of the United States all of the organized military forces of the Government

of the Commonwealth of the Philippines called and ordered into the service of the armed

forces of the United States pursuant to the Military Order of July 26, 1941.” Military

Order filed July 1, 1946, 11 Fed. Reg. 7394 (July 3, 1946); see also “Treaty between the

United States of America and the Philippines and protocol respecting general relations,”

in Foreign Treaties and International Agreements; Philippines, 61 Stat. 1174 (July 4,

1946).




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       18.    The Army Report describes “the guerrilla resistance movement in the

Philippines and the mission of the United States Army to award those valiant members of

this fraternity who contributed materially to the defeat of the common foe, official

guerrilla recognition. This recognition is tantamount to induction into the Philippine

Army which during the late war was in the service of the Armed Forces of the United

States, thus establishing their entitlement to soldier emoluments and veterans benefits.”

See Exhibit 1 at Foreward.

       19.    According to the Army Report, recognition of guerrillas “was constantly

hindered [] [] by chaotic conditions incident to a total war . . . Under the most favorable

reception the granting of guerrilla recognition to deserving Filipinos would have been

extremely difficult to accomplish and hold the degree of error and injustice to an absolute

nuance.”     Id. at 214.     But, quite simply, “it was impossible to exclude error in

recognitions.” Id. at 215. Claims for 7th MD guerrilla recognition were complicated in

part by “chaotic personnel problems experienced by an army undergoing the process of

rapid demobilization” and in part because original rosters of Eighth Army guerrillas,

which had been submitted to GHQ SWPA, were “destroyed” or “lost in storage.” Id. at

Foreward, 108-09.

       20.    As it turned out, guerrilla “recognition” by the U.S. Army had very limited

practical meaning. Congress infamously passed two Rescission Acts in 1946 (Public

Laws 79–301 and 79–391) that essentially rendered the Filipinos ineligible for United

States veterans’ benefits.




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       21.    However, over sixty years later, the FVECF benefit was established by

Congress in the Recovery Act, Pub. L. No. 111-5, § 1002, 123 Stat. 115, 200 (2009), with

the potential to temper the long-standing sentiment among many Philippine veterans that

their efforts on behalf of the United States were unappreciated. Non-U.S. citizens and

U.S. citizens who are “eligible” as defined in the Act are entitled to one-time payments of

$9,000 and $15,000, respectively. Id. at § 1002(e). An “eligible person” is defined, inter

alia, as “any person who . . . served . . . before July 1, 1946, in the organized military

forces of the Government of the Commonwealth of the Philippines, while such forces

were in the service of the Armed Forces of the United States pursuant to the military

order of the President dated July 26, 1941, including among such military forces

organized guerrilla forces under commanders appointed, designated, or subsequently

recognized by [CINCSWPA].” Id. at § 1002(d)(1)(A).

       22.    Ms. Reyes applied to the Department of Veterans Affairs (“VA”) to receive

the FVECF benefit almost eight years ago, in February 2010.           VA has denied her

eligibility, on the basis that Army refuses to certify that she performed “recognized”

guerrilla service.   Specifically, Ms. Reyes’ name has not been found on Army’s

reconstructed recognized guerrilla roster. Yet, Army did find in its records a copy of a

sworn Affidavit from 1946, signed by both Ms. Reyes and an officer of the Army of the

United States, setting forth Ms. Reyes’ guerrilla and USAFFE service. Neither VA nor

Army currently acknowledge the import of that Affidavit.

       23.    Ms. Reyes is not alone. In fact, VA has denied 23,775 FVECF claims

(56%) while approving only 18,980 claims (44%). See WWII Filipino Veterans Equity


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Compensation (FVEC) Fund, Center for Minority Veterans (CMV), available at

https://www.va.gov/centerforminorityveterans/fvec.asp (last reviewed Nov. 27, 2017)

(statistics as of Oct. 1, 2017).

       24.     Many Filipino veterans have believed that their FVECF claims were

improperly denied by VA. In 2012,

               [t]o address their concerns, the White House Initiative on
               Asian Americans and Pacific Islanders, in collaboration with
               the Office of Management and Budget, [] launched an
               Interagency Working Group [(“IWG”)] comprised of officials
               from the Department of Veterans Affairs, the Department of
               Defense, and the National Archives and Record
               Administration. The Interagency Working Group [was]
               tasked with analyzing the process faced by these Filipino
               veterans in demonstrating eligibility for compensation in
               order to ensure that all applications receive thorough and fair
               review. This [was] part of the Obama Administration’s
               ongoing efforts to honor the contributions of all veterans in
               their service to our country.

See https://obamawhitehouse.archives.gov/blog/2012/10/17/honoring-filipino-world-war-

ii-veterans-their-service.

       25.     “Through the work of the [IWG], the National Archives and Record

Administration [] released [the Army Report] that details the creation of the official

Department of the Army Filipino Guerilla list.      It was declassified in 1988 . . . The

report is available [at https://catalog.archives.gov/id/6921767].” See https://sites.ed.gov/

aapi/filipino-world-war-ii-veterans/.

       26.     The Army Report was previously classified as Secret. According to its

cover, only 25 copies of the Army Report were created. Despite being “declassified in

1988,” it was not readily available to the public. Only a single copy is known to exist,

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found decades after it was declassified having been locked away in a safe at the National

Archives and Records Administration.

       27.       “This document details the creation by the U.S. Army in 1948 of the

official Guerilla list that is being used to verify valid service for the FVEC. This [was]

the first time that this invaluable historical document [became] available to the general

public.” Id. (emphasis added).

       28.       The Army Report reveals, in matter-of-fact fashion, why Ms. Reyes’ name

is not listed on the reconstructed recognized guerrilla roster:

                 [T]he close scrutiny given the functions of women guerrillas
                 ultimately led to the belief that, [] excepting nurses, no
                 women should be recognized. However, the unfamiliarity of
                 American personnel with the spelling of female names in
                 Spanish and in native dialect permitted the recognition of
                 [only] a small number of women.”

See Exhibit 1 at 106 (emphasis added). 1 Indeed, “a tightening up of requirements for

guerrilla recognitions” included “[t]he close scrutiny of the service of women guerrillas.”

Id. at 113-14.

       29.       Ms. Reyes is presently arguing in an appeal before the U.S. Court of

Appeals for Veterans Claims (“CAVC”) that the denial of the FVECF benefit to her, in

part, violates the equal protection component of the Due Process Clause of the Fifth

Amendment by intentionally discriminating against Filipino women who served as

guerrillas. See Reyes v. Shulkin, Vet. App. No. 16-2471 (CAVC). An equal protection

violation arises because men’s names were included on guerrilla rosters whereas


       1
          The Army Report is reproduced in relevant part in Exhibit 1, but can be found in
its entirety at https://catalog.archives.gov/id/6921767.
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women’s names were intentionally excluded, so men are able to more readily prove

entitlement to the FVECF benefit than women.

       30.     Pursuant to Executive Order 13515 (Oct. 14, 2009), the White House

Initiative on Asian Americans and Pacific Islanders (“WHIAAPI”) was established with

its funding and administrative support provided by ED. See, e.g., https://obamawhite

house.archives.gov/the-press-office/executive-order-asian-american-and-pacific-islander-

community. WHIAAPI, in collaboration with the Office of Management and Budget,

launched the IWG that made the Army Report publicly available.               The IWG was

comprised of officials from VA, the Department of Defense, and the National Archives

and Record Administration.

       31.     Despite VA’s participation on the IWG, VA has argued in the CAVC

appeal—in which Ms. Reyes relies on the Army Report—that the document “purports to

have been prepared by the Philippines Command of the U.S. Army in 1949” and is

“unverified as to its authenticity.” See Exhibit 2 at 16. VA also has argued in the CAVC

appeal that the Army Report was “neither actually nor constructively before the [Board of

Veterans’ Appeals] at the time of its decision.” See Exhibit 3 at 4.

       32.     Discovery is not available in connection with veterans’ benefits claims,

which are administratively handled by the VA and appeals of which are adjudicated

based upon the administrative record (the so-called “Record Before the Agency” or

“RBA”).

       33.     Details about the IWG are difficult to locate.          Meeting minutes, for

example, are not readily available to the public. Yet details concerning the IWG’s work


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in releasing the Army Report to the public are important to Ms. Reyes in her pending

CAVC appeal.      They also are important to the tens of thousands of other FVECF

claimants who have been denied eligibility for this benefit by the VA.

      34.     The public is owed full and frank disclosure by ED concerning the work of

the IWG with respect to the Army Report.

                    PLAINTIFF’S FOIA REQUEST AND
               DEFENDANT’S FAILURE TO COMPLY WITH FOIA

      35.     By email dated March 22, 2017, Ms. Reyes submitted a FOIA request

(“FOIA Request”) to ED requesting:

              all Records in the possession, custody, or control of the
              Department of Education and/or the White House
              Initiative on Asian Americans and Pacific Islanders that
              both (1) concern the Filipino Veterans Equity
              Compensation Fund (FVEC or FVECF) Interagency
              Working Group (IWG) and (2) reference, refer to, or relate
              to the report U.S. Army Recognition Program of Philippine
              Guerrillas, dated circa 1949.

                                         * * *

              As used herein, the term “Records” includes but is not limited
              to meeting minutes of the IWG, memoranda involving the
              IWG, reports of the IWG, and instructions of the IWG. The
              term Records does not include an actual copy of the above-
              identified report.

See Exhibit 4 (emphasis in original).




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       36.     The FOIA Request identified individuals at ED who may provide

information helpful to ED’s FOIA officials in identifying relevant Records, including

Diana Yu (Diana.yu@ed.gov) and Akil Vohra (akil.vohra@ed.gov).2 Id.

       37.     The FOIA Request sought expedited processing:

               Expedited Processing is hereby requested. . . . Ms. Feliciana
               Reyes[] is involved in legal proceedings concerning the
               Filipino Veterans Equity Compensation Fund (the subject
               matter of the IWG) in which she has an urgent need for the
               requested Records. Ms. Reyes will potentially suffer the
               loss of substantial due process rights if this FOIA request is
               not processed on an expedited basis. Moreover, the subject
               matter related to the FOIA request—benefits for Filipinos
               who served in WWII—has met widespread and exceptional
               media interest and the information sought involves possible
               questions about the government’s integrity that affect public
               confidence. The news media has widely reported issues with
               veterans being found ineligible for this benefit and Congress
               has held hearings on the subject. In addition, the records
               concern the government’s knowledge of the 1949 report and
               its importance with respect to the Filipino Veterans Equity
               Compensation Fund. The government recently questioned
               the “authenticity” of this report. These statements are true
               and correct to the best of the knowledge and belief of the
               undersigned.

Id. (emphasis in original).

       38.     By email and letter dated March 25, 2017, ED acknowledged receipt of the

FOIA Request and assigned it tracking No. 17-01296-F. See Exhibit 5.

       2
         Other individuals previously at WHIAAPI/ED whose email accounts, on
information and belief, may contain responsive Records include but are not limited to
Jude R. Soundar (Jude.Soundar@ed.gov), Jason Tengco (Jason.Tengco@ed.gov), Phillip
Olaya (Phillip.Olaya@ed.gov), Kiran Ahuja (formerly Executive Director of WHIAAPI),
Audrey Buehring, (formerly Deputy Director of WHIAAPI), and Chris Lu (formerly Co-
Chair of WHIAAPI). Various Records involving these individuals were either produced
by ED in response to an administrative appeal, discussed supra, or were produced in
co-pending FOIA litigation, Reyes v. United States National Archives and Records
Administration, No. 17-1497 (CKK) (D.D.C.).
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       39.     By email dated April 4, 2017, Ms. Reyes “appeal[ed] the constructive

denial of expedited processing under FOIA.” See Exhibit 6.

       40.     By email dated April 10, 2017, ED stated that its “FOIA Service Center

received responsive documents to process and the final response should be sent out

today.” See Exhibit 7.

       41.     By email dated April 11, 2017 (with an attached letter dated April 1, 2017),

ED provided a “final response” stating “the documents that you are requesting cannot be

released” and that “[t]hey are totally withheld.” See Exhibit 8.

       42.     By email dated April 12, 2017, Ms. Reyes informed ED that her

administrative appeal concerning the denial of expedited processing was “moot” but that

“she would file “a new administrative appeal shortly because of the denial of information

in the 4/11/2017 response determination.” See Exhibit 9.

       43.     By email dated April 21, 2017, Ms. Reyes appealed the denial of

information requested under FOIA. Her administrative appeal states, inter alia:

               The Response fails to meet the most basic requirement of ED
               under FOIA – the department must first “gather and review
               the documents” that would be responsive and then “determine
               and communicate the scope of the documents it intends to
               produce and withhold.” See, e.g., Citizens for Responsibility
               & Ethics in Wash. v. FEC, 711 F.3d 180, 188 (D.C. Cir.
               2013). The Response does not indicate that any documents
               were actually gathered and reviewed.           Moreover, the
               Response fails to indicate the number of pages or the number
               of documents that are being withheld. The Response
               therefore is deficient for these reasons.

               Requester provided ED with a likely time frame for
               responsive records (2012-2013) and likely custodians of
               responsive records (Diana Yu; Akil Vohra; and/or Rebecca
               Lee). Records should have been gathered and reviewed from

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               at least those three document custodians with respect to the
               requested time frame.

               In addition, ED failed to produce any segregable, non-exempt
               information, such as portions of the withheld documents that
               are factual or non-deliberative in nature. Responsive but
               withheld documents such as emails surely contain factual
               information that is non-deliberative in nature such as the
               sender, recipient(s), date, and subject of an email. A mere
               mention of, or reference to, the report U.S. Army Recognition
               Program of Philippine Guerrillas, dated circa 1949, in such an
               email also would be non-deliberative (see the FOIA Request
               for the relevance of this document with respect to the FOIA
               Request).

See Exhibit 10.

       44.     By email and letter dated June 13, 2017, ED informed Ms. Reyes that it

“decided to grant [her] appeal in part and deny [her] appeal in part.” See Exhibit 11.

Four pages were released in part and withheld in part, while three pages were withheld in

full. Id. ED stated that if Ms. Reyes was dissatisfied with the FOIA response, she could

thereafter file a lawsuit. Id.

       45.     In co-pending FOIA litigation—Reyes v. United States National Archives

and Records Administration (“NARA”), No. 17-1497 (CKK) (D.D.C.)—also concerning

the Army Report (and involving a FOIA request of substantially the same scope as the

disputed request to ED), NARA has identified over 150 pages of responsive records.

Many of those pages include emails involving individuals at WHIAAPI/ED, yet none

were identified by ED through its purported search. For example, emails involving

WHIAAPI/ED officials in October 2012 concerned the IWG meetings, “[d]ue outs,” and

“topics.” Emails between Jude R. Soundar, a Policy Advisor at WHIAAPI/ED, and

NARA in May 2013 discussed the Army Report. And emails involving WHIAAPI/ED

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officials during June-July 2013 concerned a so-called “Filipino Vets Blog Post and

Report” that was vetted by WHIAAPI/ED and that discussed the Army Report. It is now

clear that ED did not properly “gather and review the documents” responsive to Ms.

Reyes’ FOIA request, as she administratively appealed.

       46.     ED has not made responsive, non-exempt records promptly available to Ms.

Reyes in connection with the FOIA Request.

                 EXHAUSTION OF ADMINISTRATIVE REMEDIES

       47.     Ms. Reyes has exhausted any and all administrative remedies with respect

to ED in connection with her FOIA Request.

                            FIRST CAUSE OF ACTION:
                      Unlawful Failure to Disclose Agency Records
                          With Respect to the FOIA Request

       48.     Ms. Reyes repeats and re-alleges paragraphs 1-47 above.

       49.     Ms. Reyes has a legal right under FOIA to obtain the agency records

requested from defendant ED in the FOIA Request, and no legal basis exists for

defendant’s failure to make available the requested records.

       50.     With respect to the FOIA Request, defendant ED’s (i) failure to exercise

due diligence with respect to searching for responsive records and making the requested

records promptly available and (ii) wrongful withholding of agency records are unlawful,

and in violation of FOIA, including 5 U.S.C. § 552(a)(3), as well as ED’s regulations

promulgated under FOIA.

       51.     Ms. Reyes is entitled to declaratory and injunctive relief with respect to the

release and disclosure of the requested records.


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                        SECOND CAUSE OF ACTION:
   Violation of the Administrative Procedure Act for Failure to Conduct Proper
 Search and Wrongful Withholding of Records With Respect to the FOIA Request

       52.      Ms. Reyes repeats and re-alleges paragraphs 1-51 above.

       53.      Defendant ED’s (i) failure to exercise due diligence with respect to

searching for responsive records and making the requested records promptly available

and (ii) wrongful withholding of agency records each constitute agency action unlawfully

withheld and unreasonably delayed, in violation of the APA, 5 U.S.C. §§ 701-06. ED’s

failure to properly search, and its withholdings, each are arbitrary, capricious, an abuse of

discretion, not in accordance with law and without observance of procedure required by

law, all in violation of the APA.

       54.      Ms. Reyes is entitled to declaratory and injunctive relief with respect to the

release and disclosure of the requested records in connection with the FOIA Request.

                                REQUESTS FOR RELIEF

       WHEREFORE, Ms. Reyes requests that judgment be entered in her favor and

against defendant, and that:

       a) defendant and any of defendant’s agents or other persons, offices, or

             components acting for, with, by, through or under them be ordered to promptly

             conduct an expedited and reasonable search for records responsive to Ms.

             Reyes’ request under FOIA;

       b) defendant and any of defendant’s agents or other persons, offices, or

             components acting for, with, by, through or under them be enjoined and

             restrained from continuing to fail to conduct a proper search and from


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        withholding records relevant to Ms. Reyes’ request under FOIA and in

        violation of the APA;

     c) the Court declare that the requested records are not exempt from disclosure

        under FOIA and order defendant to disclose the requested records in their

        entireties and make copies available to Ms. Reyes;

     d) the Court enter a judgment awarding Ms. Reyes reasonable attorneys’ fees and

        costs pursuant to 5 U.S.C. § 552(a)(4)(E) and 28 U.S.C. § 2412; and

     e) the Court award all other such relief to Ms. Reyes as this Court deems just,

        proper and equitable.

Dated: November 27, 2017        Respectfully submitted,

                                /s/ Seth A. Watkins
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                                Attorneys for Feliciana G. Reyes




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